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                     THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re:                                     §
                                            §             Chapter 7
 ALEXANDER E. JONES.,                       §             Case No. 22-33553
                                            §
          Debtor.                           §
                                            §

         NOTICE OF FINAL FEE APPLICATION FOR APPROVAL OF
       COMPENSATION FOR HMP ADVISORY HOLDINGS, LLC D/B/A
 HARNEY PARTNERS AS FINANCIAL ADVISOR FOR THE CHAPTER 7 TRUSTEE,
    CHRISTOPHER R. MURRAY, FOR ALLOWANCE OF COMPENSATION
      AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
             DECEMBER 2, 2024 THROUGH JANUARY 31, 2025
                       [Related to Docket No. 1207]

HMP ADVISORY HOLDINGS, LLC D/B/A HARNEY PARTNERS HAS FILED AN
APPLICATION FOR APPROVAL OF COMPENSATION THAT MAY ADVERSELY
AFFECT YOU. IF YOU OPPOSE THE APPLICATION, YOU SHOULD IMMEDIATELY
CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A
COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE
WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE
MUST STATE WHY THE APPLICATION SHOULD NOT BE GRANTED. IF YOU DO
NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE APPLICATION AND HAVE NOT
REACHED AN AGREEMENT YOU MUST ATTEND THE HEARING. UNLESS THE
PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE APPLICATION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

          PLEASE TAKE NOTICE THAT: HMP Advisory Holdings, LLC d/b/a Harney Partners

(“HP” or the “Applicant”), financial advisor for Christopher R. Murray, chapter 7 trustee

(“Trustee”) for the bankruptcy estate of Alexander E. Jones (“Jones” or the “Debtor”), has applied

to this Court for an order approving Applicant’s Final Fee Application for Approval of

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Compensation and Reimbursement of Expenses [DE 1207] (the “Application”) for the period of

December 2, 2024 through January 31, 2025 (“Application Period”). The Application seeks final

approval of fees in the amount of $5,210.00 and expenses of $0.00.

       The Application was filed with the Clerk of the United States Bankruptcy Court for the

Southern District of Texas, 515 Rusk Avenue, Houston, Texas 77002 on the same date as this

notice. Any objections to the Applicant’s Application for interim approval and payment of fees

and expenses must be filed by the deadlines set forth in Bankruptcy Local Rule 9013.

Dated: June 27, 2025                           Respectfully submitted,

                                               HMP ADVISORY HOLDINGS, LLC
                                               D/B/A HARNEY PARTNERS




                                               Karen G. Nicolaou, Managing Director
                                               Email: knicolaou@harneypartners.com
                                               Telephone: 281-656-6508
                                               One Riverway 777
                                               S. Post Oak Lane, Suite 1700
                                               Houston, TX 77056
                                               Financial Advisors for the Chapter 7 Trustee



                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 27, 2025 a true and correct copy of the foregoing notice was
provided by electronic notice to all parties registered for and entitled to notice in this case through
the Court’s CM/ECF system and/or U.S. First Class Mail, postage prepaid, on all parties entitled
to notice.

                                                       /s/ Jacqueline Q. Chiba
                                                       Jacqueline Q. Chiba
                                                       Counsel for the Chapter 7 Trustee




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